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Form B6A                             UNITED STATES BANKRUPTCY COURT
(10/05)                                 NORTHERN DISTRICT OF TEXAS
                                              DALLAS DIVISION
  IN RE:   Shuntay R White                                                CASE NO                        06-32011-13

                                                                          CHAPTER                        13


                                     SCHEDULE A - REAL PROPERTY


                                                                                                           Current Value




                                                                                  Husband, Wife, Joint
                                                                                                            of Debtor's
                 Description and                         Nature of Debtor's




                                                                                    Or Community
                                                                                                             Interest in
                   Location of                          Interest in Property
                                                                                                         Property, Without    Amount Of
                    Property                                                                                                 Secured Claim
                                                                                                          Deducting Any
                                                                                                          Secured Claim
                                                                                                           or Exemption



  None




                                                                               Total:                                $0.00
                                                                               (Report also on Summary of Schedules)
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Form B6B                                     UNITED STATES BANKRUPTCY COURT
(10/05)                                         NORTHERN DISTRICT OF TEXAS
                                                      DALLAS DIVISION
  IN RE:    Shuntay R White                                                               CASE NO        06-32011-13

                                                                                         CHAPTER         13

                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                       Husband, Wife, Joint
                                                                                                                                              Current Value of
                                                                                                                                              Debtor's Interest




                                                                                                                         or Community
                                                                                                                                                 in Property,

                                           None
                                                                                                                                              Without Deducting
            Type of Property                                    Description and Location of Property                                            any Secured
                                                                                                                                                   Claim or
                                                                                                                                                  Exemption

1. Cash on hand.                                  Cash on Hand $78                                                           -                         $78.00


2. Checking, savings or other finan-              None                                                                       -                          $0.00
cial accounts, certificates of deposit,
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-     X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,               Household Items                                                            -                        $900.00
including audio, video and computer               TV, Bed, Dresser, Sofa, Appliances, Towels, Bathroom
equipment.                                        Items, VCR, DVD, Bookcase


5. Books; pictures and other art                  Books, Misc Pictures                                                       -                         $30.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                               Clothes                                                                    -                        $300.00


7. Furs and jewelry.                              Watch, Misc Items                                                          -                         $50.00


8. Firearms and sports, photo-                    Misc Sporting Goods                                                        -                         $75.00
graphic, and other hobby equipment.

9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.




                                                                                                               Total >                              $1,433.00
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  IN RE:    Shuntay R White                                                        CASE NO      06-32011-13

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                                         SCHEDULE B - PERSONAL PROPERTY
                                                     Continuation Sheet No. 1




                                                                                                              Husband, Wife, Joint
                                                                                                                                     Current Value of
                                                                                                                                     Debtor's Interest




                                                                                                                or Community
                                                                                                                                        in Property,

                                          None
                                                                                                                                     Without Deducting
            Type of Property                             Description and Location of Property                                          any Secured
                                                                                                                                          Claim or
                                                                                                                                         Exemption


10. Annuities. Itemize and name           X
each issuer.

11. Interests in an education IRA as      X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh,       X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-       X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint    X
ventures. Itemize.

15. Government and corporate bonds        X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                  X

17. Alimony, maintenance, support,        X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to        X
debtor including tax refunds. Give
particulars.




                                                                                                      Total >                              $1,433.00
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  IN RE:    Shuntay R White                                                          CASE NO      06-32011-13

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                                           SCHEDULE B - PERSONAL PROPERTY
                                                       Continuation Sheet No. 2




                                                                                                                Husband, Wife, Joint
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                  or Community
                                                                                                                                          in Property,

                                            None
                                                                                                                                       Without Deducting
            Type of Property                               Description and Location of Property                                          any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption


19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,          X
and other vehicles and accessories.

26. Boats, motors, and accessories.         X



                                                                                                        Total >                              $1,433.00
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Form B6B                                 UNITED STATES BANKRUPTCY COURT
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                                      SCHEDULE B - PERSONAL PROPERTY
                                                  Continuation Sheet No. 3




                                                                                                           Husband, Wife, Joint
                                                                                                                                  Current Value of
                                                                                                                                  Debtor's Interest




                                                                                                             or Community
                                                                                                                                     in Property,

                                       None
                                                                                                                                  Without Deducting
           Type of Property                           Description and Location of Property                                          any Secured
                                                                                                                                       Claim or
                                                                                                                                      Exemption


27. Aircraft and accessories.          X

28. Office equipment, furnishings,     X
and supplies.

29. Machinery, fixtures, equipment,    X
and supplies used in business.

30. Inventory.                         X

31. Animals.                           X

32. Crops - growing or harvested.      X
Give particulars.

33. Farming equipment and              X
implements.

34. Farm supplies, chemicals, and      X
feed.

35. Other personal property of any     X
kind not already listed. Itemize.




                                                                                                   Total >                              $1,433.00
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                                                                                          CHAPTER        13

                                    SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:           ¨     Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                 $125,000.

þ    11 U.S.C. § 522(b)(2)
¨    11 U.S.C. § 522(b)(3)




                                                                                                                                Current
                                                                                                                           Value of Property
                                                              Specify Law Providing Each            Value of Claimed
             Description of Property                                                                                       Without Deducting
                                                                      Exemption                        Exemption
                                                                                                                               Exemption



Cash on Hand $78                                        11 U.S.C. § 522(d)(5)                                   $78.00                  $78.00

None                                                    11 U.S.C. § 522(d)(5)                                     $0.00                     $0.00

Household Items                                         11 U.S.C. § 522(d)(3)                                  $900.00                 $900.00
TV, Bed, Dresser, Sofa, Appliances, Towels,
Bathroom Items, VCR, DVD, Bookcase

Books, Misc Pictures                                    11 U.S.C. § 522(d)(3)                                   $30.00                  $30.00

Clothes                                                 11 U.S.C. § 522(d)(3)                                  $300.00                 $300.00

Watch, Misc Items                                       11 U.S.C. § 522(d)(4)                                   $50.00                  $50.00

Misc Sporting Goods                                     11 U.S.C. § 522(d)(3)                                   $75.00                  $75.00




                                                                                                              $1,433.00              $1,433.00
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(10/05)                                                                                                                                  (If Known)
                                                                                                                      CHAPTER     13

                                SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                          ¨   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
        CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                 AMOUNT OF       UNSECURED




                                                           HUSBAND, WIFE, JOINT




                                                                                                                               UNLIQUIDATED
          MAILING ADDRESS                                                                    INCURRED, NATURE                                   CLAIM         PORTION, IF




                                                                                                                                CONTINGENT
                                                             OR COMMUNITY
                                                CODEBTOR




                                                                                                                                 DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                   WITHOUT           ANY
          ACCOUNT NUMBER                                                                      DESCRIPTION AND                                 DEDUCTING
                                                                                                  VALUE OF                                     VALUE OF
                                                                                             PROPERTY SUBJECT                                 COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Automobile
Toyota Motor Credit Corporation                                                   COLLATERAL:
                                                                                  2002 Toyota Camry                                              $20,073.24       $4,573.24
5005 North River Blvd N.E.                                      -                 REMARKS:
Cedar Rapids, IA 52411-6634                                                       19.10




                                                                                  VALUE:                          $15,500.00




                                                                                                       Subtotal (Total of this Page) >            $20,073.24
 ________________continuation
        No                    sheets attached
                                                                                                      Total (Use only on last page) >             $20,073.24
                                                                                                                             (Report total also on Summary of Schedules)
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                                                       DALLAS DIVISION
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                                                                                                 CHAPTER          13

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS


              þ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal
    guardian, or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to
    the extent provided in 11 U.S.C. § 507(a)(1).

¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,225* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


¨   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. §
    507(a)(9).

¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


¨   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. Secs. 326, 328, 329 and 330.


* Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


 ________________continuation
        No                    sheets attached
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                                                                                                                                  (If Known)
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                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                  ¨   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

               CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                       AMOUNT OF




                                                              HUSBAND, WIFE, JOINT




                                                                                                                                          UNLIQUIDATED
                                                                                                                                           CONTINGENT
                MAILING ADDRESS                                                                      INCURRED AND                                          CLAIM




                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                            DISPUTED
              INCLUDING ZIP CODE,                                                                CONSIDERATION FOR
             AND ACCOUNT NUMBER                                                                          CLAIM.
                                                                                                IF CLAIM IS SUBJECT TO
                                                                                                   SETOFF, SO STATE.


ACCT #:                                                                              DATE INCURRED:
                                                                                     CONSIDERATION:
Credit Bureau of Columbus Services                                                   Collecting for - Bell South                                                 $0.00
236 East Town St                                                                     REMARKS:
                                                                  -
Columbus, OH 43215



ACCT #:                                                                              DATE INCURRED:
                                                                                     CONSIDERATION:
Credit Collection Services                                                           Collecting for - Nationwide Insurance                                     $222.00
2 Wells Avenue                                                                       REMARKS:
                                                                  -
Newton, MA 02459



ACCT #:                                                                              DATE INCURRED:   05/18/2006
                                                                                     CONSIDERATION:
Law Office of Greg Wiley P.L.L.C.                                                    Attorney Fees                                                           $2,844.00
555 Republic Drive, Suite 200                                                        REMARKS:
                                                                  -
Plano, Texas 75074



ACCT #:                                                                              DATE INCURRED:
                                                                                     CONSIDERATION:
Volkswagen Credit                                                                    Notice Only                                                           Notice Only
2333 Waukeegan Rd                                                                    REMARKS:
                                                                  -
Deerfield, IL 60015




                                                                                                                                     Subtotal >               $3,066.00
________________continuation
       No                    sheets attached
                                                                                Total (Use only on last page of the completed Schedule F) >                   $3,066.00
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                                                                             CHAPTER       13

                   SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

            þ Check this box if debtor has no executory contracts or unexpired leases.


                                                                DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
           NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,        PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
             OF OTHER PARTIES TO LEASE OR CONTRACT.             CONTRACT.
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IN RE: Shuntay R White                                              CASE NO    06-32011-13

                                                                    CHAPTER    13

                                           SCHEDULE H - CODEBTORS

þ Check this box if debtor has no codebtors.


                NAME AND ADDRESS OF CODEBTOR                          NAME AND ADDRESS OF CREDITOR
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                                                      DALLAS DIVISION
IN RE: Shuntay R White                                                                          CASE NO        06-32011-13

                                                                                               CHAPTER         13

                         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12, or 13 case whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
           Single            Relationship:                        Age:                Relationship:                               Age:




 Employment                    Debtor                                                       Spouse
 Occupation                   Nurses Assistant
 Name of Employer             Green Crest Manor
 How Long Employed            4 Weeks
 Address of Employer          dba Greenville Health & Rehab
                              4910 Wellington
                              Greenville, TX 75401
INCOME: (Estimate of average monthly income)                                                                     DEBTOR                    SPOUSE
1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                           $1,516.67
2. Estimate monthly overtime                                                                                        $0.00
3. SUBTOTAL                                                                                                     $1,516.67
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                     $32.50
   b. Social Security Tax                                                                                           $116.02
   c. Medicare                                                                                                        $0.00
   d. Insurance                                                                                                       $0.00
   e. Union dues                                                                                                      $0.00
   f. Retirement                                                                                                      $0.00
   g. Other (specify)                                                                                                 $0.00
   h. Other (specify)                                                                                                 $0.00
   i. Other (specify)                                                                                                 $0.00
   j. Other (specify)                                                                                                 $0.00
   k. Other (specify)                                                                                                 $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                   $148.52
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                           $1,368.15
7.  Regular income from operation of business or profession or farm (attach detailed stmt)                            $0.00
8.  Income from real property                                                                                         $0.00
9.  Interest and dividends                                                                                            $0.00
10. Alimony, maintenance or support payments payable to debtor for the debtor's use or                                $0.00
    that of dependents listed above.
11. Social Security or government assistance (specify)                                                                $0.00
12. Pension or retirement income                                                                                      $0.00
13. Other monthly income (specify)
      a.                                                                                                              $0.00
      b.                                                                                                              $0.00
      c.                                                                                                              $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                    $0.00
15. TOTAL MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                       $1,368.15
16. TOTAL COMBINED MONTHLY INCOME: $1,368.15                                                     (Report also on Summary of Schedules)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
Debtor just started her new job. We will amend and update as the actual amount to be made becomes ascertainable.
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                                                                                             CHAPTER         13

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

     Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
     labeled "Spouse."


1. Rent or home mortgage payment (include lot rented for mobile home)
    a. Are real estate taxes included?      þ Yes       ¨ No
    b. Is property insurance included?      þ Yes       ¨ No
2. Utilities: a. Electricity and heating fuel
              b. Water and sewer
              c. Telephone                                                                                                                  $100.00
              d. Other:
3. Home maintenance (repairs and upkeep)
4. Food                                                                                                                                     $200.00
5. Clothing                                                                                                                                  $75.00
6. Laundry and dry cleaning
7. Medical and dental expenses                                                                                                               $75.00
8. Transportation (not including car payments)                                                                                              $275.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                          $65.00
10. Charitable contributions
11. Insurance (not deducted from wages or included in home mortgage payments)
          a. Homeowner's or renter's
          b. Life
          c. Health
          d. Auto                                                                                                                           $105.00
          e. Other:
12. Taxes (not deducted from wages or included in home mortgage payments)
Specify:
13. Installment payments: (In Chapter 11, 12, and 13 cases, do not list payments included in the plan)
           a. Auto:
           b. Other:
           c. Other:
           d. Other:
14. Alimony, maintenance, and support paid to others:
15. Payments for support of add'l dependents not living at your home:
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
17.a. Other:
17.b. Other:

18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                            $895.00
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
document: Debtor lives with boyfriend and he pays most bills.


20. STATEMENT OF MONTHLY NET INCOME
a. Total monthly income from Line 16 of Schedule I                                                                                        $1,368.15
b. Total monthly expenses from Line 18 above                                                                                               $895.00
c. Monthly net income (a. minus b.)                                                                                                        $473.15
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    Form 6-Summary                      UNITED STATES BANKRUPTCY COURT
    (10/05)                                NORTHERN DISTRICT OF TEXAS
                                                 DALLAS DIVISION
  IN RE:    Shuntay R White                                                          CASE NO      06-32011-13

                                                                                    CHAPTER       13



                                                  SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors must also complete the "Statistical Summary of Certain Liabilities."


                                                      AMOUNTS SCHEDULED
                                        ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                LIABILITIES                 OTHER
                                        (YES/NO) SHEETS

 A - Real Property                          Yes         1                          $0.00


 B - Personal Property                      Yes         4                      $1,433.00


 C - Property Claimed                       Yes         1
     as Exempt
 D - Creditors Holding                      Yes         1                                              $20,073.24
     Secured Claims

 E - Creditors Holding Unsecured            Yes         1                                                   $0.00
     Priority Claims

 F - Creditors Holding Unsecured            Yes         1                                               $3,066.00
     Nonpriority Claims

 G - Executory Contracts and                Yes         1
    Unexpired Leases

 H - Codebtors                              Yes         1


 I - Current Income of                      Yes         1                                                                     $1,368.15
     Individual Debtor(s)

 J - Current Expenditures of                Yes         1                                                                       $895.00
    Individual Debtor(s)

                                                            Total >            $1,433.00               $23,139.24
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                           Statistical Summary of Certain Liabilities (28 U.S.C. § 159)
                                           [Individual Debtors Only]

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                       Amount

 Domestic Support Obligations (from Schedule E)                                        $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                              $0.00
 (from Schedule E)


 Claims for Death or Personal Injury While Debtor Was                                  $0.00
 Intoxicated (from Schedule E)


 Student Loan Obligations (from Schedule F)                                            $0.00

 Domestic Support, Separation Agreement, and Divorce Decree                            $0.00
 Obligations Not Reported on Schedule E


 Obligations to Pension or Profit-Sharing, and Other Similar                           $0.00
 Obligations (from Schedule F)


                                                               TOTAL                   $0.00



The foregoing information is for statistical purposes only under 28 U.S.C. § 159.
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                            DECLARATION CONCERNING DEBTOR'S SCHEDULES


                         DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                       14
                                                                                                                (Total shown on summary page plus 1.)
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 06/01/2006                                                Signature    /s/ Shuntay R White
                                                                           Shuntay R White

Date                                                           Signature

                                                               [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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                                               STATEMENT OF FINANCIAL AFFAIRS


       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
¨      including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $469.88                     2006 YTD Income

        $11,734                     2005 Gross Income

        $                           2004 Gross Income

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
þ      two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
þ      debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all property that
       constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on
       account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
       credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
þ      preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than
       $5,000. (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
þ      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
þ      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
þ      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                              STATEMENT OF FINANCIAL AFFAIRS
                                                                Continuation Sheet No. 1


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
þ      to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
þ      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
þ      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
þ      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
þ      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
¨      consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Law Office of Greg Wiley P.L.L.C.                             05/18/2006                       $156.00 Attorney Fees
        555 Republic Drive, Suite 200                                                                  $50 Credit Counseling
        Plano, Texas 75074                                                                             Certificate
                                                                                                       $274 Filing Fees
                                                                                                       $30 Credit Report
                                                                                                       Total: $500

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
þ      either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
þ
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                                               STATEMENT OF FINANCIAL AFFAIRS
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       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
þ      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
þ      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
þ      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
þ      during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
þ      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
þ      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:
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                                              STATEMENT OF FINANCIAL AFFAIRS
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None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
þ      Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
þ      or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
þ      dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF

None
       b.TAXPAYER
          Identify anyI.D. NO. listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
                       business
þ

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.


Date 06/01/2006                                                       Signature          /s/ Shuntay R White
                                                                      of Debtor          Shuntay R White


Date                                                                  Signature
                                                                      of Joint Debtor
                                                                      (if any)

 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C.
 Sections 152 and 3571
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Form B22C (Chapter 13) (10/05)                                            According to the calculations required by this statement:
In re: Shuntay R White                                              þ   The applicable commitment period is 3 years.
                                                                    ¨   The applicable commitment period is 5 years.
                                                                    ¨   Disposable Income is determined under § 1325(b)(3).
Case Number: 06-32011-13
                                                                    þ   Disposable Income is not determined under § 1325(b)(3).
                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)
                        STATEMENT OF CURRENT MONTHLY INCOME
              AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                        FOR USE IN CHAPTER 13
In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly.
Joint debtors may complete one statement only.

                                                    Part I. REPORT OF INCOME
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a. þ Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
       b. ¨ Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
       All figures must reflect average monthly income for the six calendar months prior to filing
 1                                                                                                        Column A          Column B
       the bankruptcy case, ending on the last day of the month before the filing. If you received
       different amounts of income during these six months, you must total the amounts
                                                                                                           Debtor's         Spouse's
       received during the six months, divide this total by six, and enter the result on the
                                                                                                            Income            Income
       appropriate line.
 2     Gross wages, salary, tips, bonuses, overtime, commissions.                                                  $0.00
       Income from the operation of a business, profession, or farm. Subtract Line b from
       Line a and enter the difference on Line 3. Do not enter a number less than zero. Do not
       include any part of the business expenses entered on Line b as a deduction in Part IV.
 3
         a.   Gross receipts                                               $0.00
         b.   Ordinary and necessary business expenses                     $0.00
         c. Business income                                      Subtract Line b from Line a                       $0.00
       Rent and other real property income. Subtract Line b from Line a and enter the
       difference on Line 4. Do not enter a number less than zero. Do not include any part of
       the operating expenses entered on Line b as a deduction in Part IV.
 4       a.   Gross receipts                                               $0.00
         b.   Ordinary and necessary operating expenses                    $0.00
         c.   Rental income                                         Subtract Line b from Line a                    $0.00
 5     Interest, dividends, and royalties.                                                                         $0.00
 6     Pension and retirement income.                                                                              $0.00
       Regular contributions to the household expenses of the debtor or the debtor's
 7     dependents, including child or spousal support. Do not include contributions from the                       $0.00
       debtor's spouse.
       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
       However, if you contend that unemployment compensation received by you or your
       spouse was a benefit under the Social Security Act, do not list the amount of such
 8     compensation in Column A or B, but instead state the amount in the space below:
         Unemployment compensation claimed to be a                     Debtor            Spouse
         benefit under the Social Security Act                              $0.00                                  $0.00
       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Total and enter on Line 9. DO NOT INCLUDE any benefits
       received under the Social Security Act or payments received as a victim of a war crime,
       crime against humanity, or as a victim of international or domestic terrorism.
 9
         a.
        b.
       Total and enter on Line 9                                                                                   $0.00
       Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
 10                                                                                                                $0.00
       through 9 in Column B. Enter the total(s).
       Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B,
 11
       and enter the total. If Column B has not been completed, enter the amount from Line 10,                              $0.00
       Column A.



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                            Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
 12     Enter the amount from Line 11.                                                                                          $0.00
        Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
 13     calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
        spouse, enter the amount of the income listed in Line 10, Column B that was NOT regularly contributed to
        the household expenses of you or your dependents. Otherwise, enter zero.
 14     Subtract Line 13 from Line 12 and enter the result.                                                                     $0.00
        Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12
 15                                                                                                                             $0.00
        and enter the result.
        Applicable median family income. Enter the median family income for the applicable state and household
        size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
 16     court.)

        a. Enter debtor's state of residence:              Texas            b. Enter debtor's household size:  1       $34,408.00
        Application of § 1325(b)(4). Check the applicable box and proceed as directed.
        þ The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is
 17         3 years" at the top of page 1 of this statement and complete Part VII of this statement. DO NOT COMPLETE PARTS III, IV,
            V OR VI.
        ¨ The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period
            is 5 years" at the top of page 1 of this statement and continue with Part III of this statement.



               Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
 18     Enter the amount from Line 11.

        Marital adjustment. If you are married, but are not filing jointly with your spouse, enter the amount of the
 19     income listed in Line 10, Column B that was NOT regularly contributed to the household expenses of you
        or your dependents. If you are unmarried or married and filing jointly with your spouse, enter zero.

 20     Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.

 21     Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12
        and enter the result.

 22     Applicable median family income. Enter the amount from Line 16.
        Application of § 1325(b)(3). Check the applicable box and proceed as directed.
        ¨ The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined
 23        under § 1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
        ¨   The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not
            determined under § 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. DO NOT
            COMPLETE PARTS IV, V, OR VI.



                      Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                       Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
        National Standards: food, clothing, household supplies, personal care, and miscellaneous.
        Enter "Total" amount from IRS National Standards for Allowable Living Expenses for the applicable family
 24     size and income level. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
        bankruptcy court.)
        Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
 25A    and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)




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        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
        IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
        total of the Average Monthly Payments for any debts secured by your home, as stated in Line 47; subtract
 25B    Line b from Line a and enter the result in Line 25B. DO NOT ENTER AN AMOUNT LESS THAN ZERO.
         a.   IRS Housing and Utilities Standards; mortgage/rent Expense
         b.   Average Monthly Payment for any debts secured by your home, if
              any, as stated in Line 47
         c.   Net mortgage/rental expense                                                Subtract Line b from Line a.
        Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
        and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
        Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
 26     for your contention in the space below:




        Local Standards: transportation; vehicle operation/public transportation expense.
        You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
        operating a vehicle and regardless of whether you use public transportation.
 27     Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
        are included as a contribution to your household expenses in Line 7.   ¨ 0 ¨ 1 ¨ 2 or more
        Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for
        the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

        Local Standards: transportation ownership/lease expense; Vehicle 1.
        Check the number of vehicles for which you claim an ownership/lease expense. (You may not claim an
        ownership/lease expense for more than two vehicles.)         ¨ 1 ¨ 2 or more
        Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car
        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
 28     Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
        Line a and enter the result in Line 28. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs, First Car
         b.   Average Monthly Payment for any debts secured by Vehicle 1, as
              stated in Line 47
         c.   Net ownership/lease expense for Vehicle 1                                  Subtract Line b from Line a.

        Local Standards: transportation ownership/lease expense; Vehicle 2.
        Complete this Line only if you checked the "2 or more" Box in Line 28.
        Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car
        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
        Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
 29     Line a and enter the result in Line 29. DO NOT ENTER AN AMOUNT LESS THAN ZERO.
         a.   IRS Transportation Standards, Ownership Costs, Second Car
         b.   Average Monthly Payments for debts secured by Vehicle 2, if any,
              as stated in Line 47
         c.   Net ownership/lease expense for Vehicle 2                                  Subtract Line b from Line a.
        Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
        federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self
 30     employment taxes, social security taxes, and Medicare taxes. DO NOT INCLUDE REAL ESTATE OR
        SALES TAXES.
        Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
        deductions that are required for your employment, such as mandatory retirement contributions, union
 31     dues, and uniform costs. DO NOT INCLUDE DISCRETIONARY AMOUNTS, SUCH AS NON-MANDATORY
        401(K) CONTRIBUTIONS.




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       Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for
 32    term life insurance for yourself. DO NOT INCLUDE PREMIUMS FOR INSURANCE ON YOUR
       DEPENDENTS, FOR WHOLE LIFE, OR FOR ANY OTHER FORM OF INSURANCE.
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
 33    required to pay pursuant to court order, such as spousal or child support payments. DO NOT INCLUDE
       PAYMENTS ON PAST DUE SUPPORT OBLIGATIONS INCLUDED IN LINE 49.
       Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
       Enter the total monthly amount that you actually expend for education that is a condition of employment
 34
       and for education that is required for a physically or mentally challenged dependent child for whom no
       public education providing similar services is available.

 35    Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on
       childcare. DO NOT INCLUDE PAYMENTS MADE FOR CHILDREN'S EDUCATION.
       Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on
 36    health care expenses that are not reimbursed by insurance or paid by a health savings account. DO NOT
       INCLUDE PAYMENTS FOR HEALTH INSURANCE LISTED IN LINE 39.
       Other Necessary Expenses: telecommunication services. Enter the average monthly expenses that you
 37    actually pay for cell phones, pagers, call waiting, caller identification, special long distance, or internet
       services necessary for the health and welfare of you or your dependents. DO NOT INCLUDE ANY
       AMOUNT PREVIOUSLY DEDUCTED.
 38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.
                                  Subpart B: Additional Expense Deductions under § 707(b)
                            Note: Do not include any expenses that you have listed in Lines 24-37
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the average monthly
       amounts that you actually expend in each of the following categories and enter the total.
        a. Health Insurance
 39
        b. Disability Insurance
         c.   Health Savings Account
                                                                                        Total: Add Lines a, b and c
       Continued contributions to the care of household or family members. Enter the actual monthly expenses
       that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
 40    ill, or disabled member of your household or member of your immediate family who is unable to pay for
       such expenses. DO NOT INCLUDE PAYMENTS LISTED IN LINE 34.

       Protection against family violence. Enter any average monthly expenses that you actually incurred to
 41    maintain the safety of your family under the Family Violence Prevention and Services Act or other
       applicable federal law.

       Home energy costs in excess of the allowance specified by the IRS Local Standards. Enter the average
       monthly amount by which your home energy costs exceed the allowance in the IRS Local Standards for
 42
       Housing and Utilities. YOU MUST PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION
       DEMONSTRATING THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Education expenses for dependent children under 18. Enter the average monthly expenses that you
       actually incur, not to exceed $125 per child, in providing elementary and secondary education for your
 43    dependent children less than 18 years of age. YOU MUST PROVIDE YOUR CASE TRUSTEE WITH
       DOCUMENTATION DEMONSTRATING THAT THE AMOUNT CLAIMED IS REASONABLE AND
       NECESSARY AND NOT ALREADY ACCOUNTED FOR IN THE IRS STANDARDS.
       Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
       expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to
 44    exceed five percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or
       from the clerk of the bankruptcy court.) YOU MUST PROVIDE YOUR CASE TRUSTEE WITH
       DOCUMENTATION DEMONSTRATING THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND
       NECESSARY.

       Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
 45
       cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).
 46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.




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                                              Subpart C: Deductions for Debt Payment
       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly
       Payment. The Average Monthly Payment is the total of all amounts contractually due to each Secured
       Creditor in the 60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should
       include payments of taxes and insurance required by the mortgage. If necessary, list additional entries on
 47    a separate page.

                       Name of Creditor                 Property Securing the Debt        60-month Average Payment
         a.
         b.
         c.
                                                                                          Total: Add Lines a, b and c
       Past due payments on secured claims. If any of the debts listed in Line 47 are in default, and the property
       securing the debt is necessary for your support or the support of your dependents, you may include in your
       deductions 1/60th of the amount that you must pay the creditor as a result of the default (the "cure
       amount") in order to maintain possession of the property. List any such amounts in the following chart
       and enter the total. If necessary, list additional entries on a separate page.
 48
                   Name of Creditor            Property Securing the Debt in Default       1/60th of the Cure Amount
         a.
         b.
         c.
                                                                                          Total: Add Lines a, b and c
       Payments on priority claims. Enter the total amount of all priority claims (including priority child support
 49
       and alimony claims), divided by 60.
       Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
       resulting administrative expense.

         a.   Projected average monthly Chapter 13 plan payment.

         b.   Current multiplier for your district as determined under schedules
 50           issued by the Executive Office for United States Trustees. (This
                                                                                                                        %
              information is available at www.usdoj.gov/ust/ or from the clerk of
              the bankruptcy court.)

         c.   Average monthly administrative expense of Chapter 13 case                   Total: Multiply Lines a and b
 51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.
                                     Subpart D: Total Deductions Allowed under § 707(b)(2)
 52    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 38, 46 and 51.


                     Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
 53    Total current monthly income. Enter the amount from Line 20.
       Support income. Enter the monthly average of any child support payments, foster care payments, or
 54    disability payments for a dependent child, included in Line 7, that you received in accordance with
       applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.
       Qualified retirement deductions. Enter the monthly average of (a) all contributions or wage deductions
 55    made to qualified retirement plans, as specified in § 541(b)(7) and (b) all repayments of loans from
       retirement plans, as specified in § 362(b)(19).

 56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.
       Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, and 56 and enter
 57
       the result.
 58    Monthly Disposable Income under § 1325(b)(2). Subtract Line 57 from Line 53 and enter the result.




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                                           Part VI: ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
       under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
       monthly expense for each item. Total the expenses.

                                              Expense Description                                                   Monthly Amount
 59
         a.
         b.

         c.

                                                                         Total: Add Lines a, b, and c



                                                       Part VII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct.
       (If this is a joint case, both debtors must sign.)



 60            Date: 06/01/2006                             Signature:     /s/ Shuntay R White
                                                                                                 (Debtor)


               Date:                                        Signature:
                                                                                           (Joint Debtor, if any)




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